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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

    JOHN DOE                                                 CIVIL ACTION

    VERSUS                                                    NO. 19-11403

    THE ADMINISTRATORS OF THE                              SECTION “R” (1)
    TULANE EDUCATIONAL FUND



                     SCHEDULING ORDER
    FOR PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION


       A Status Conference regarding plaintiff’s motion for preliminary

injunction 1 was held July 2, 2019.

             Participating were:

             ELLIE SCHILLING
             JUSTINE GEIGER DANIEL
             NAN ALESSANDRA
             KIM BOYLE
             HOWARD BOYD

       The following deadlines apply to this proceeding.

       Any motion to dismiss shall be filed by JULY 15, 2019.              Any

opposition to a motion to dismiss shall be filed by JULY 23, 2019. Any

reply to an opposition to a motion to dismiss shall be filed by JULY 29,

2019. Leave of Court is granted to file a reply.


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      Any opposition to the motion for a preliminary injunction shall be filed

by SEPTEMBER 20, 2019. Any reply to an opposition to the motion for a

preliminary injunction shall be filed by SEPTEMBER 30, 2019. Leave of

Court is granted to file a reply.

      The Court will not consider responses to reply briefs. Deposition

transcripts submitted in support of motions are to be in an

uncompressed format, specifically, double-spaced lines on single-

sided pages.

      Any motions in limine shall be filed by SEPTEMBER 17, 2019, and

responses thereto shall be filed by SEPTEMBER 19, 2019.

      Motions filed in violation of this order will not be considered unless

good cause is shown.

      The parties have participated in a discovery conference with the

Magistrate Judge for the purposes of setting a discovery timeline and

identifying any special discovery limitations beyond those established in the

Federal Rules or Local Rules of this Court.

      Depositions for hearing use shall be taken and all discovery shall be

completed no later than SEPTEMBER 13, 2019.

      Counsel for the parties shall file in the record and serve upon their

opponents a list of all witnesses who may or will be called to testify at the


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hearing, including the address and telephone number of each witness. Each

party shall designate those witnesses whose testimony the party expects to

present by deposition, and include a transcript of the pertinent parts of the

deposition. Additionally, each party shall identify the documents or exhibits

the party may or will use at the hearing, separately identifying those items

the party expects to offer and those it may offer if the need arises. These

disclosures must be made no later than SEPTEMBER 23, 2019.

     Counsel for the parties shall meet in person or by telephone at their

earliest convenience, and no later than SEPTEMBER 25, 2019, to arrive

at all possible stipulations and to exchange copies of exhibits to be used at

the hearing.   Counsel shall attempt to resolve all objections as to the

admissibility of evidence. The parties shall submit memoranda on any

unresolved objections to exhibits or testimony no later than SEPTEMBER

27, 2019.

     The Court will not permit any witness, expert or fact, to testify or any

exhibits to be used unless there has been compliance with this Order as it

pertains to the witness and/or exhibits, without an order to do so issued on

motion for good cause shown.

     A final prehearing conference will be held on OCTOBER 1, 2019, at

2:00 P.M.


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      The hearing will commence the week beginning, MONDAY,

OCTOBER 7, 2019, at 9:00 A.M. before the District Judge. Attorneys are

instructed to report for the hearing no later than 30 minutes prior to this

time. The hearing is estimated to last two days.

      In light of the pendency of this proceeding, the parties have agreed to

work to establish a standstill agreement that will both allow the plaintiff to

attend Tulane University for the Fall 2019 semester and provide appropriate

protections to the other individuals involved in the University’s

investigation.




          New Orleans, Louisiana, this _____
                                        11th day of July, 2019.



                     _____________________
                          SARAH S. VANCE
                   UNITED STATES DISTRICT JUDGE




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